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                   Exhibit 2
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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS



───────────────────────── ┐
─────────────────────────
LARRY GOLDEN,             │
──                        │
            Plaintiff,    │                             1:13-cv-307-EGB
                          │
               V.         │                             Senior Judge Eric G. Bruggink
                          │
UNITED STATES,            │
                          │                             August 22, 2021
           Defendant.     │
                          │
───────────────────────── ┘
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──

       PLAINTIFF’S CORRECTED PRELIMINARY INFRINGEMENT
                        CONTENTIONS—PATENT RULE 4(E)

        Pursuant to this Court’s order, filed 07/29/2021 in this Case No. 13-307C; Dkt. No. 239,
Plaintiff (“Larry Golden”) is filing his “Corrected Preliminary Infringement Contentions for
Patent Rule 4(e)”.
        The Corrected Preliminary Infringement Contentions illustrates that, “for each patent that
claims priority to an earlier application, the priority date to which each asserted claim allegedly
is entitled and whether the patentee [Plaintiff] is relying on the filing date or an earlier
conception date as the priority date.” APPENDIX J: PATENT RULES OF THE UNITED
STATES COURT OF FEDERAL CLAIMS; TITLE III. PATENT DISCLOSURES. Rule 4.
Preliminary Disclosure of Infringement Contentions—(e). Plaintiff’s “Corrected Preliminary
Infringement Contentions” are as follows:

    ➢ Thirty (30) alleged infringing products of Apple Inc. that, upon information and belief,
        Plaintiff is alleging infringes twenty-five (25) independent claims of Plaintiff’s ‘497,
        ‘752, ‘189, ‘439, & ‘287 patents.
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   ➢ Twenty-seven (27) alleged infringing products of Samsung Electronics Inc. that, upon
        information and belief, Plaintiff is alleging infringes twenty-five (25) independent claims
        of Plaintiff’s ‘497, ‘752, ‘189, ‘439, & ‘287 patents.
   ➢ Twenty-seven (27) alleged infringing products of LG Electronics Inc. that, upon
        information and belief, Plaintiff is alleging infringes twenty-five (25) independent claims
        of Plaintiff’s ‘497, ‘752, ‘189, ‘439, & ‘287 patents.


                         PRIORITY AND CONCEPTION DATES


 Each asserted independent claim of the ‘752, ‘189,         Filing date of
                                                            the ‘497
 ‘439, & ‘287 patents (i.e., 24 claims) are allegedly       patent is
 entitled to the filing date of the ‘497 patent.            04/05/2006


 Each asserted independent claim of the ‘497, ‘752, ‘189, ‘439, &            Disclosure
 ‘287 patents (i.e., 25 claims) are allegedly entitled to the filing date    Document
 of the Plaintiff’s Disclosure Document filed with USPTO. Doc. No.           filed on
 565732                                                                      11/26/2004



 Each asserted independent claim of the ‘497, ‘752, ‘189, ‘439, & ‘287 patents (i.e.,     Earlier
 25 claims) are allegedly entitled to the “conception of the technical rational”;         conception
 inventions Plaintiff alleged are major components to the completion of Plaintiff’s       filed with the
 three economic stimulus packages submitted to the Government. The Affidavit              Honorable
 submitted under 37 CFR §1.131 and §1.132 into record of the ‘752 patent (IFW) on         Congressman
                                                                                          Elijah E.
 07/21/2010, establishes a priority date of Dec. 16, 2002 to overcome 102 and 103
                                                                                          Cummings:
 objections. A true copy of the document is attached                                      12/16/2002




All Twenty-Five Claims are Asserted Against the Following New and Improved Cell
Phones (i.e., Smartphones) Manufactured and Used by Apple.

   ➢ Claim 1 of the ‘497 patent (Alleged infringing products are Apple iPhones 7, 8, SE, XS,
        11, & 12)
   ➢ Claim 10 of the ‘752 patent (Alleged infringing products are Apple iPhones 7, 8, SE, XS,
        11, & 12)




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   ➢ Claims 1-9 of the ‘189 patent (Alleged infringing products are Apple iPhones 7, 8, SE,
      XS, 11, & 12)
   ➢ Claims 13-23 of the ‘439 patent (Alleged infringing products are Apple iPhones 7, 8, SE,
      XS, 11, & 12)
   ➢ Claims 4-6 of the ‘287 patent (Alleged infringing products are Apple iPhones 7, 8, SE,
      XS, 11, & 12)

All Twenty-Five Claims are Asserted Against the Following Watches, Chipsets, and CPUs
Used by Apple.

   ➢ Representative Chart for Apple Watch Series 3, 4, 5, & 6
   ➢ Apple iPhone 7 Chipset: Apple A10 Fusion (16 nm).
   ➢ Apple iPhone 7 CPU: Quad-core 2.34 GHz (2x Hurricane + 2x Zephyr).
   ➢ Apple iPhone 8 Chipset: Apple A11 Bionic (10 nm).
   ➢ Apple iPhone 8 CPU: Hexa-core (2x Monsoon + 4x Mistral).
   ➢ Apple Watch Series 3 Chipset: Apple S3.
   ➢ Apple Watch Series 3 CPU: Dual-core
   ➢ Apple iPhone SE Chipset: Apple A9 (14 nm).
   ➢ Apple iPhone SE CPU: Dual-core 1.84 GHz Twister.
   ➢ Apple iPhone XS Chipset: Apple A12 Bionic (7 nm).
   ➢ Apple iPhone XS CPU: Hexa-core (2x2.5 GHz Vortex + 4x1.6 GHz Tempest).
   ➢ Apple Watch Series 4 Chipset: Apple S4.
   ➢ Apple Watch Series 4 CPU: Dual-core
   ➢ Apple iPhone 11 Chipset: Apple A13 Bionic (7 nm+).
   ➢ Apple iPhone 11 CPU: Hexa-core (2x2.65 GHz Lightning + 4x1.8 GHz Thunder).
   ➢ Apple iPhone 12 Chipset: Apple A14 Bionic (5 nm).
   ➢ Apple iPhone 12 CPU: Hexa-core (2x3.1 GHz Firestorm + 4x1.8 GHz Icestorm).
   ➢ Apple Watch Series 5 Chipset: Apple S5.
   ➢ Apple Watch Series 5 CPU: Dual-core.
   ➢ Apple Watch Series 6 Chipset: Apple S6.
   ➢ Apple Watch Series 6 CPU: Dual-core



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All Twenty-Five Claims are Asserted Against the Following New and Improved Cell
Phones (i.e., Smartphones) Manufactured and Used by Samsung.

   ➢ Claim 1 of the ‘497 patent (Alleged infringing products are Samsung Galaxy Note 8,
      Galaxy S8, S9, S10, S20, & S21)
   ➢ Claim 10 of the ‘752 patent (Alleged infringing products are Samsung Galaxy Note 8,
      Galaxy S8, S9, S10, S20, & S21)
   ➢ Claims 1-9 of the ‘189 patent (Alleged infringing products are Samsung Galaxy Note 8,
      Galaxy S8, S9, S10, S20, & S21)
   ➢ Claims 13-23 of the ‘439 patent (Alleged infringing products are Samsung Galaxy Note
      8, Galaxy S8, S9, S10, S20, & S21)
   ➢ Claims 4-6 of the ‘287 patent (Alleged infringing products are Samsung Galaxy Note 8,
      Galaxy S8, S9, S10, S20, & S21)

All Twenty-Five Claims are Asserted Against the Following Watches, Chipsets, and CPUs
Used by Samsung.

   ➢ Representative Chart for Samsung Gear S3 Classic Series, Galaxy Watch Active 2 Series,
      & Galaxy Watch 3 Series
   ➢ Samsung Galaxy Note 8 Series Chipset: Qualcomm MSM8998 Snapdragon 835 (10 nm)
      – USA/China
   ➢ Samsung Galaxy Note 8 Series CPU: Octa-core (4x2.35 GHz Kryo & 4x1.9 GHz Kryo) -
      USA & China
   ➢ Samsung Galaxy S8 Series Chipset: Qualcomm MSM8998 Snapdragon 835 (10 nm) –
      USA/China
   ➢ Samsung Galaxy S8 Series CPU: Octa-core (4x2.35 GHz Kryo & 4x1.9 GHz Kryo) -
      USA & China
   ➢ Samsung Gear S3 Classic Series Chipset: Exynos 7 Dual 7270 (14 nm)
   ➢ Samsung Gear S3 Classic Series CPU: Dual-core 1.0 GHz Cortex-A53
   ➢ Samsung Galaxy S9 Series Chipset: Qualcomm SDM845 Snapdragon 845 (10 nm) –
      USA/China
   ➢ Samsung Galaxy S9 Series CPU: Octa-core (4x2.8 GHz Kryo 385 Gold & 4x1.7 GHz
      Kryo 385 Silver)-USA/China

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   ➢ Samsung Galaxy S10 Series Chipset: Qualcomm SM8150 Snapdragon 855 (7 nm) -
      USA/China
   ➢ Samsung Galaxy S10 Series CPU: Octa-core (1x2.84 GHz Kryo 485 & 3x2.42 GHz Kryo
      485 & 4x1.78 GHz Kryo 485)-USA/China
   ➢ Samsung Galaxy Watch Active 2 Series Chipset: Exynos 9110 (10 nm)
   ➢ Samsung Galaxy Watch Active 2 Series CPU: Dual-core 1.15 GHz Cortex-A53
   ➢ Samsung Galaxy S20 Series chipset: Qualcomm SM8250 Snapdragon 865 5G (7 nm+) –
      USA
   ➢ Samsung Galaxy S20 Series CPU: Octa-core (1x2.84 GHz Kryo 585 & 3x2.42 GHz Kryo
      585 & 4x1.8 GHz Kryo 585)-USA
   ➢ Samsung Galaxy S21 Series chipset: Qualcomm SM8350 Snapdragon 888 5G (5 nm)
   ➢ Samsung Galaxy S21 Series CPU: Octa-core (1x2.84 GHz Kryo 680 & 3x2.42 GHz Kryo
      680 & 4x1.8 GHz Kryo 680)-USA
   ➢ Samsung Galaxy Watch 3 Series Chipset: Exynos 9110 (10 nm)
   ➢ Samsung Galaxy Watch 3 Series CPU: Dual-core 1.15 GHz Cortex-A53


All Twenty-Five Claims are Asserted Against the Following New and Improved Cell
Phones (i.e., Smartphones) Manufactured and Used by LG.

   ➢ Claim 1 of the ‘497 patent (Alleged infringing products are LG V30, LG G6, LG G7, LG
      G8, LG V50, & LG V60)
   ➢ Claim 10 of the ‘752 patent (Alleged infringing products are LG V30, LG G6, LG G7,
      LG G8, LG V50, & LG V60)
   ➢ Claims 1-9 of the ‘189 patent (Alleged infringing products are LG V30, LG G6, LG G7,
      LG G8, LG V50, & LG V60)
   ➢ Claims 13-23 of the ‘439 patent (Alleged infringing products are LG V30, LG G6, LG
      G7, LG G8, LG V50, & LG V60)
   ➢ Claims 4-6 of the ‘287 patent (Alleged infringing products are LG V30, LG G6, LG G7,
      LG G8, LG V50, & LG V60)


All Twenty-Five Claims are Asserted Against the Following Watches, Chipsets, and CPUs
Used by Samsung.

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   ➢ Representative Chart for LG Watch Sport Series, LG Watch Style Series, & LG Watch
       W7 Series
   ➢ LG V30 Chipset: Qualcomm MSM8998 Snapdragon 835 (10 nm)
   ➢ LG V30 CPU: Octa-core (4x2.45 GHz Kryo & 4x1.9 GHz Kryo)
   ➢ LG G6 Chipset: Qualcomm MSM8996 Snapdragon 821 (14 nm)
   ➢ LG G6 CPU: Quad-core (2x2.35 GHz Kryo & 2x1.6 GHz Kryo)
   ➢ LG Watch Sport Chipset: Qualcomm MSM8909W Snapdragon Wear 2100
   ➢ LG Watch Sport CPU: Quad-core 1.1 GHz Cortex-A7
   ➢ LG G7 Chipset: Qualcomm SDM845 Snapdragon 845 (10 nm)
   ➢ LG G7 CPU: Octa-core (4x2.8 GHz Kryo 385 Gold & 4x1.7 GHz Kryo 385 Silver)
   ➢ LG G8 Chipset: Qualcomm SM8150 Snapdragon 855 (7 nm)
   ➢ LG G8 CPU: Octa-core (1x2.84 GHz Kryo 485 & 3x2.42 GHz Kryo 485 & 4x1.78 GHz
       Kryo 485)
   ➢ LG Watch Style Chipset: Qualcomm MSM8909W Snapdragon Wear 2100
   ➢ LG Watch Style CPU: Quad-core 1.1 GHz Cortex-A7
   ➢ LG V50 Chipset: Qualcomm SM8150 Snapdragon 855 (7 nm)
   ➢ LG V50 CPU: Octa-core (1x2.84 GHz Kryo 485 & 3x2.42 GHz Kryo 485 & 4x1.78 GHz
       Kryo 485)
   ➢ LG V60 Chipset: Qualcomm SM8250 Snapdragon 865 5G (7 nm+)
   ➢ LG V60 CPU: Octa-core (1x2.84 GHz Kryo 585 & 3x2.42 GHz Kryo 585 & 4x1.8 GHz
       Kryo 585)
   ➢ LG Watch W7 Chipset: Qualcomm MSM8909W Snapdragon Wear 2100
   ➢ LG Watch W7 CPU: Quad-core 1.3 GHz Cortex-A7


       Plaintiff’s is submitting his infringement contentions as a “Corrected Preliminary
Infringement Contentions” that complies with Patent Rule 4. This is not an amendment. Plaintiff
has always alleged the Defendants are infringing Plaintiff’s central processing unit (CPUs).
Plaintiff was ordered to identify the make and model of the CPUs in accordance to Patent Rule 4.




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                                    Respectfully submitted,

                                    s/ Larry Golden

                                    Larry Golden, Plaintiff, Pro Se
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                           CERTIFICATE OF SERVICE


      The undersigned hereby certifies that on this 22nd day of August, 2021, a true and correct
copy of the foregoing PLAINTIFF’S CORRECTED PRELIMINARY INFRINGEMENT
CONTENTIONS—PATENT RULE 4(E) was served upon the following defendant via e-mail:




                            Grant D. Johnson
                            Trial Attorney
                            Commercial Litigation Branch
                            Civil Division
                            Department of Justice
                            Washington, DC 20530
                            Grant.D.Johnson@usdoj.gov
                            202-305-2513




                                             Respectfully served by:


                                             s/ Larry Golden
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